                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:23-cv-00096-MR-WCM


USA FARM LABOR, INC. et al.,      )
                                  )
                      Plaintiffs, )
                                  )
     vs.                          )                 ORDER
                                  )
JULIE SU, Acting                  )
Secretary of Labor, U.S.          )
Department of Labor, et al.,      )
                                  )
                      Defendants. )
________________________________ )

        THIS MATTER is before the Court on the Plaintiffs’ Unopposed Motion

to Stay Proceedings.        [Doc. 55].   The Court held a telephonic status

conference with the parties regarding the Plaintiffs’ Motion on November 9,

2023.

        In their motion, the Plaintiffs move to stay the proceedings in this case

pending a decision by the Court of Appeals on their appeal of the Order

denying their motions for injunctive relief. [Doc. 55]. While not joining in the

motion, the Defendants do not oppose the Plaintiffs’ request. [Id.].

        Upon review of the Plaintiffs’ Motion, the Court finds that the Plaintiffs

have not demonstrated good cause for the requested stay at this time. The

Plaintiffs’ primary argument appears to be that extensive discovery will be


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required in this matter, and that proceeding forward with the litigation while

the appeal remains pending would result in a waste of time and resources.

However, it is not apparent at this time that any such discovery will be

required in order to resolve the issues presented by the parties. Accordingly,

the Plaintiffs’ Motion is denied without prejudice.

      The parties shall file their Certificate of Initial Attorneys’ Conference no

later than November 17, 2023, after which the Magistrate Judge will enter a

case management order.

      IT IS, THEREFORE, ORDERED that the Plaintiffs’ Unopposed Motion

to Stay Proceedings [Doc. 55] is DENIED.

      IT IS FURTHER ORDERED that the parties shall file their Certificate

of Initial Attorneys’ Conference no later than November 17, 2023.

      IT IS SO ORDERED.

                         Signed: November 15, 2023




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